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14
15                          UNITED STATES DISTRICT COURT
16                        NORTHERN DISTRICT OF CALIFORNIA
17                                 SAN JOSE DIVISION

18   FEDERAL TRADE COMMISSION,               NO. 5:17-CV-00220-LHK-NMC

19                                           DECLARATION OF ZACHARY
     Plaintiff,                              ARNER IN SUPPORT OF SEALING
20                                           PORTIONS OF TRIAL EXHIBITS
     vs.                                     JX0006, JX0047, AND JX0122
21
                                             CTRM: 8, 4th Floor
     QUALCOMM INCORPORATED, a
22
     Delaware corporation,                   JUDGE: Hon. Lucy H. Koh
23
     Defendant.
24
25
26
27
28
                                                           Case No. 17-CV-0220-LHK-NMC
                                                                Declaration of Zachary Arner
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1           I, Zachary Arner, declare as follows:
2           1.      I am currently Senior Manager, Finance, at Qualcomm CDMA Technologies
3    (“QCT”) at Qualcomm Technologies, Incorporated. I received my Bachelor of Arts from
4    University of California, San Diego in 2003 and Master of Accounting from University of
5    Southern California in 2004. I started working at QCT in 2008. My current responsibilities
6    include commercial pricing in the Mobile business unit. When I began working at QCT in 2008,
7    my title was Financial Analyst. In 2010 I was promoted to Senior Financial Analyst, in 2013 I
8    was promoted to Staff Financial Analyst, and in 2015 I was promoted to Manager, Finance. In
9    2017 I was promoted to my current position. Over the course of my employment in QCT, I have
10   acquired personal knowledge of QCT’s practices and procedures concerning the maintenance of
11   the confidentiality of its contracting and business activities.
12          2.      I submit this declaration in support of sealing portions of trial exhibits JX0006,
13   JX0047, and JX0122 (the “Trial Exhibits”).
14          3.      The contents of this declaration are true and correct to the best of my knowledge,
15   information and belief. I have personal knowledge of the facts set forth herein, or my knowledge
16   is based upon my review of records kept in the ordinary course of business or conversations with
17   other knowledgeable Qualcomm Incorporated (“Qualcomm”) employees. If called upon as a
18   witness in this action, I could and would testify competently thereto.
19          4.      QCT follows a strict practice that requires confidential treatment of all
20   negotiations for the sale of chips. All such discussions are undertaken pursuant to non-disclosure
21   agreements, which provide that all information exchanged and terms discussed during
22   negotiations are to be maintained in confidence by both parties to the negotiations.
23          5.      Generally, agreements for the supply of chips (Component Supply Agreements, or
24   “CSAs”) are entered into by Qualcomm CDMA Technologies Asia-Pacific PTE Ltd. (“QCTAP”)
25   and a chip customer. It is QCTAP’s practice to include in its CSAs confidentiality obligations
26   that prohibit the disclosure of the agreements themselves or any of their terms, except in limited
27   authorized circumstances. These confidentiality obligations survive termination of the CSAs.
28          6.      Furthermore, strategic relationship agreements are generally between Qualcomm
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                                                                                Declaration of Zachary Arner
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1    Technologies Incorporated (“QTI”) and a third party. It is QTI’s practice to include in its
2    strategic relationship agreements confidentiality obligations that prohibit the disclosure of the
3    agreements themselves or any of their terms, except in limited authorized circumstances. These
4    confidentiality obligations survive termination of the strategic relationship agreements.
5           7.      It is likewise QCT’s practice to require confidential treatment of QCT’s internal
6    business analyses, pricing and valuation analyses, revenues, strategy and decision-making.
7    QCT’s business analyses, pricing and valuation analyses, revenues, strategy and decision-making
8    incorporate highly sensitive and proprietary information and processes that QCT relies upon to
9    pursue its commercial interests.
10          8.      These confidentiality practices are important to QCT and (with respect to
11   agreements and communications with third parties) to third parties with which QCT contracts for
12   several reasons. Both QCT and prospective contractual counterparties seek to maintain their
13   negotiations in confidence to afford each the ability to engage in arm’s-length commercial
14   bargaining, each bringing to bear their own unique circumstances and business goals without such
15   circumstances and goals being disclosed to their competitors, customers and other actual and
16   potential customers.
17          9.      The disclosure of QCT’s confidential information, such as information contained
18   in chip sale negotiations, the terms of CSAs, and QCT’s internal business analyses, pricing and
19   valuation analyses, revenues, strategies and decision-making could significantly harm QCT’s
20   relationships and ability to conduct business with counterparties and prospective counterparties
21   and to compete effectively with other chip manufacturers.
22          10.     In my experience and to the best of my knowledge, the confidentiality obligations
23   specified above have always been strictly followed at QCT. I was informed of QCT’s practices
24   and policies described herein when I first joined QCT, and I have informed others at QCT of our
25   confidentiality obligations and practices.
26          11.     QCT also goes to great lengths to ensure that confidential information relating to
27   the manufacture of its chips, the terms of CSAs and other agreements, and QCT’s internal
28   business analyses, pricing and valuation analyses, strategies and decision-making is well
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1    protected. Personnel with access to data storage locations where confidential information is
2    stored and maintained are advised of QCT’s practices and policies and are required to
3    acknowledge in writing their awareness of and compliance with applicable Qualcomm
4    confidentiality policies. The same is true for any QCT personnel who request access to such
5    information and all new QCT employees.
6           12.       In addition, every QCT database and system that contains confidential information
7    is access-restricted and requires login by QCT employees.
8           13.       I have reviewed the information described herein, which is contained in the Trial
9    Exhibits to determine whether it includes information that QCT would consider confidential
10   under the practices and policies described above. Based on this review, I have determined that
11   Exhibit JX0122 of the Trial Exhibits includes confidential QCT information.
12          14.       The information in JX0122 reflects the type of information concerning the terms
13   of CSAs and strategic relationship agreements that QCT maintains as confidential.
14          15.       Specifically, the following portions of JX0122, which contain an Amended and
15   Restated Strategic Relationship Agreement between QTI and Samsung dated January 1, 2018 (the
16   “2018 Strategic Agreement”), reflect confidential pricing information:
17                   JX0122-036: Third paragraph, Line 2, between “(a) no less than” and “of Core
18                    Chipset” at JX0122-036;
19                   JX0122-036: Third paragraph, Line 3, between “less than” and “of Core Chipset” ;
20                   JX0122-037: §2(a), Line 2, between “equal to” and “for such”;
21                   JX0122-037: First paragraph after §2(b), Lines 1-2, between “greater of” and
22                    “(the ‘First Quarter Rebate’)”;
23                   JX0122-037: Second paragraph after §2(b), Line 1, between “(a)” and “for the
24                    second”;
25                   JX0122-037: Second paragraph after §2(b), Line 3, between “equals less than”
26                    and “then”;
27                   JX0122-037: Second paragraph after §2(b), Line 4, between “Rebate and” and
28                    “(the ‘Second”;
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1              JX0122-037: Third paragraph after §2(b), Line 1, between “year, (a)” and “for the
2               third”;
3              JX0122-037: Third paragraph after §2(b), Line 4, between “equals less than” and
4               “then QCTAP”;
5              JX0122-037: Third paragraph after §2(b), Line 5, between “Rebate and” and
6               “U.S. Dollars”;
7              JX0122-037: Fourth paragraph after §2(b), Line 1, between “year, (a)” and “for
8               the fourth”;
9              JX0122-037: Fourth paragraph after §2(b), Line 4 after “equals less than”;
10             JX0122-037: Fourth paragraph after §2(b), Line 7 after “Rebate and”;
11             JX0122-037: First paragraph after §2(c), Line 1, between “greater of” and “for
12              such”;
13             JX0122-037: First paragraph after §2(c), Line 2, between “Devices or and “(the
14              ‘First”;
15             JX0122-037: Second paragraph after §2(c), Line 1, between “(a)” and “of the
16              Net”;
17             JX0122-037: Second paragraph after §2(c), Line 3 after “equals less than”;
18             JX0122-037: Second paragraph after §2(c), Line 5, between “Rebate and” and
19              “(the ‘Second”;
20             JX0122-037: Third paragraph after §2(c), Line 1, between “(a)” and “for the
21              third”;
22             JX0122-037: Third paragraph after §2(c), Line 4, between “less than” and “then
23              QCTAP”;
24             JX0122-037: Third paragraph after §2(c), Line 6, between “Rebate and” and “(the
25              ‘Third”;
26             JX0122-038: First paragraph, Line 1, between “(a)” and “for the fourth”;
27             JX0122-038: First paragraph, Line 5, between “less than” and “then QCTAP”;
28             JX0122-038: First paragraph, Line 8;
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1              JX0122-038: Second paragraph after §2(d), Line 1, between “greater of” and “for
2               such”;
3              JX0122-038: Second paragraph after §2(d), Line 2, between “technology or” and
4               “(the ‘First”;
5              JX0122-038: Third paragraph after §2(d), Line 1, between “(a)” and “for the
6               second”;
7              JX0122-038: Third paragraph after §2(d), Line 3 after “equals less than”;
8              JX0122-038: Third paragraph after §2(d), Line 5, between “Rebate and” and “(the
9               ‘Second”;
10             JX0122-038: Fourth paragraph after §2(d), Line 1, between “(a)” and “for the
11              third”;
12             JX0122-038: Fourth paragraph after §2(d), Line 4, between “equals less than” and
13              “then QCTAP”;
14             JX0122-038: Fourth paragraph after §2(d), Line 6-7, between “Rebate and” and
15              “(the ‘Third”;
16             JX0122-038: §2(e), Line 2, between “amount equal to” and “for Connectivity”;
17             JX0122-038: First paragraph after §2(g), Line 1, between “greater of” and “for
18              High/Mid/Low”;
19             JX0122-038: First paragraph after §2(g), Line 2, between “quarter or” and “(the
20              ‘First”;
21             JX0122-039: First paragraph, Line 1, between “(a)” and “for High/Mid/Low”;
22             JX0122-039: First paragraph, Line 3, between “less than” and “then QCTAP”;
23             JX0122-039: First paragraph, Line 4, between “Rebate and” and “(the ‘Second”;
24             JX0122-039: Second paragraph, Line 1, between “(a)” and “for High/Mid/Low”;
25             JX0122-039: Second paragraph, Lines 3-4, between “less than” and “then
26              QCTAP”;
27             JX0122-039: Second paragraph, Line 6 before “(the ‘Third”;
28             JX0122-039: Third paragraph, Line 1, between “(a)” and “for High/Mid/Low”;
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1                  JX0122-039: Third paragraph, Line 4, between “less than” and “then QCTAP”;
2                  JX0122-039: Third paragraph, Line 7 after “Rebate and”;
3                  JX0122-039: First paragraph after §2(h), Line 1, between “greater of” and “for
4                   such”
5                  JX0122-039: First paragraph after §2(h), Line 2, between “Devices or” and “(the
6                   ‘First”;
7                  JX0122-039: Second paragraph after §2(h), Line 1, between “(a)” and “for the
8                   second;
9                  JX0122-039: Second paragraph after §2(h), Line 3, between “less than” and “then
10                  QCTAP”;
11                 JX0122-039: Second paragraph after §2(h), Line 5, between “and” and “(the
12                  ‘Second”;
13                 JX0122-039: Third paragraph after §2(h), Line 1, between “(a)” and “for the
14                  third”;
15                 JX0122-039: Third paragraph after §2(h), Line 4, between “less than” and “then
16                  QCTAP”;
17                 JX0122-039: Third paragraph after §2(h), Line 6, between “Rebate and” and “(the
18                  ‘Third”;
19                 JX0122-039: Fourth paragraph after §2(h), Line 1, between “(a)” and “for the
20                  fourth”;
21                 JX0122-039: Fourth paragraph after §2(h), Lines 4-5, between “less than” and
22                  “then QCTAP”;
23                 JX0122-039: Fourth paragraph after §2(h), Line 7 after “Rebate and”;
24                 JX0122-039: §2(i), Lines 1-2, between “SAMSUNG (i)” and “by June 30, 2018”;
25                 JX0122-039: §2(i), Line 5, between “(ii)” and “(the ‘Galaxy”.
26   The terms and conditions of the 2018 Strategic Agreement, including pricing terms, are subject to
27   confidentiality obligations that prohibit disclosure. Public disclosure of this information would
28   harm Qualcomm and its affiliates by disclosing internal licensing considerations and may unfairly
                                                                          Case No. 17-CV-0220-LHK-NMC
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                                                                               Declaration of Zachary Arner
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1    benefit actual and potential third parties with respect to contracting activities of Qualcomm and
2    its affiliates. This is particularly true here because this is a 2018 document.
3           16.     The information specified above and contained in the Trial Exhibits reflects terms
4    in the agreements contained within the exhibits. The terms and conditions of these agreements
5    are subject to confidentiality obligations that prohibit disclosure, and the confidentiality
6    provisions survive expiration of the agreements. Furthermore, public disclosure of the
7    information described above would harm QCT and unfairly benefit actual and potential third
8    parties with respect to contracting activities by disclosing confidential information that may
9    disadvantage Qualcomm and its affiliates in ongoing and future contract negotiations. This is
10   because counterparties in such situations could use this confidential information to gain an
11   advantage that would not otherwise be possible absent disclosure of this information, and would
12   thereby compromise QCT’s commercial interests. Information about Qualcomm’s and its
13   affiliates’ confidential agreements could also assist Qualcomm's competitors in seeking to win
14   business opportunities away from Qualcomm and its affiliates.
15          17.     This confidential information is not publicly known, and QCT recognizes and
16   protects the enormous value of this information through its various policies and procedures
17   designed to protect confidential information from disclosure.
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                                                                                 Declaration of Zachary Arner
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1           I declare under penalty of perjury that the foregoing is true and correct and that I executed
2    this declaration on January 6, 2019, in San Diego, California.
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5                                                      /s/ Zachary Arner
                                                       Zachary Arner
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